                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    at KNOXVILLE

 DONAL W. ACTON and MARY K. ACTON, )
                                   )
 Plaintiffs,                       )
                                   )                   Case No. 3:12-cv-532
 v.                                )
                                   )                   Judge Mattice
 REGIONS BANK,                     )
                                   )
 Defendant.                        )
                                   )

                                           ORDER

        Before the Court is the parties’ “Joint Motion for Agreed Order of Dismissal with

 Prejudice.” (Doc. 14). The parties have advised the Court that they have reached an

 agreement in this action and have accordingly requested that the Court dismiss this case

 in its entirety with prejudice. (Doc. 14-1).

        Pursuant to Fed. R. Civ. P. 41(a)(2) and the parties’ representations, the Motion

 for a Court order of dismissal (Doc. 14) is hereby GRANTED, and this action is

 DISMISSED WITH PREJUDICE pursuant to Fed. R. Civ. P. 41(a)(2).



        SO ORDERED this 13th day of September, 2013.




                                                   ___/s/ Harry S. Mattice, Jr. ___
                                                       HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




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